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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE MIDDLE DISTRICT OF GEORGIA
                                     MACON DIVISION


IN RE:                                          ) CHAPTER 7
                                                )
JOSEPH SIDNEY DUMAS,                            ) CASE NO. 16-50095-JPS
AKA J. SIDNEY DUMAS                             )
                                                )
         Debtor.                                )
                                                )
                                                )
STERLING NATIONAL BANK, AS                      ) CONTESTED MATTER
SUCCESSOR BY MERGER TO                          )
ASTORIA BANK,                                   )
                                                )
         Movant.                                )
                                                )
vs.                                             )
                                                )
JOSEPH SIDNEY DUMAS,                            )
AKA J. SIDNEY DUMAS                             )
WILLIAM FLATAU, Trustee                         )
                                                )
         Respondents.                           )



                                       NOTICE OF HEARING

         MOVANT HAS FILED DOCUMENTS WITH THE COURT TO OBTAIN RELIEF FROM
         THE AUTOMATIC STAY.

         YOUR RIGHTS MAY BE AFFECTED. You should read these documents carefully and
         discuss them with your attorney, if you have one in this bankruptcy case. If you do not have
         an attorney, you may wish to consult one. If not served with this notice in accordance with
         the Bankruptcy Code or the Federal Rules of Bankruptcy Procedure, a copy of the motion
         may be obtained upon written request to counsel for the Movant (identified below) or at the
         Clerk’s office.

         If you do not want the court to grant relief from the automatic stay or if you want the court to
         consider your views on the motion, then you or your attorney shall attend the hearing scheduled
         to be held on:

         January 4, 2018 at 10:30 A.M. at the United States Bankruptcy Court, 433 Cherry Street,
         Courtroom A, Macon, Georgia 31201.
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    If you or your attorney does not take these steps, the court may decide that you do not
    oppose the relief sought in the motion or objection and may enter an order granting relief.

    This notice is sent by the undersigned pursuant to LBR 9004-1(c) and LBR 9007-1.


    Dated this              11/30/2017


                                   /s/ Ciro A Mestres
                                   Ciro A Mestres, GEORGIA BAR NO. 840253
                                   Attorney for Movant
                                   McCalla Raymer Leibert Pierce, LLC
                                   1544 Old Alabama Road
                                   Roswell, Georgia 30076
                                   678-281-6516
                                   Ciro.Mestres@mccalla.com
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                        IN THE UNITED STATES BANKRUPTCY COURT
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IN RE:                                         ) CHAPTER 7
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JOSEPH SIDNEY DUMAS,                           ) CASE NO. 16-50095-JPS
AKA J. SIDNEY DUMAS                            )
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         Debtor.                               )
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STERLING NATIONAL BANK, AS                     ) CONTESTED MATTER
SUCCESSOR BY MERGER TO                         )
ASTORIA BANK,                                  )
                                               )
         Movant.                               )
                                               )
vs.                                            )
                                               )
JOSEPH SIDNEY DUMAS,                           )
AKA J. SIDNEY DUMAS                            )
WILLIAM FLATAU, Trustee                        )
                                               )
         Respondents.                          )


         MOTION FOR RELIEF FROM THE AUTOMATIC STAY AND WAIVER OF
                   30-DAY REQUIREMENT OF 11 U.S.C. §362(e)

         COMES NOW Movant and shows this Court the following:

                                                   1.

         This is a Motion under 362(d) of the Bankruptcy Code for relief from the automatic stay

for all purposes allowed by law and the contract between the parties, including, but not limited

to, the right to foreclose on certain real property.

                                                   2.

         Movant is the servicer of a loan secured by certain real property in which Debtor claims

an interest. A copy of the Security Deed is attached hereto and made a part hereof. Said real
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property is security for a promissory note, and is commonly known as 864 Wimbeldon Court,

Macon, Georgia 31210 (hereinafter referred to as the “Property”).

                                                  3.

       Debtor has not made payments which have come due according to the terms of the

Security Deed and Note. As of November 9, 2017, Debtor is delinquent for one (1) payment of

$542.52 and one (1) payment of $589.18, pursuant to the Note. The total amount of delinquent

payments is $1,131.71.

                                                  4.

       Movant estimates the value of the Property to be $305,000.00 based upon Debtor's

Schedule A.

                                                  5.

       As of November 9, 2017, Movant’s total claim is approximately $115,459.31, consisting

of: unpaid principal balance of $114,403.60; interest of $791.49; and corporate advances of

$264.22. This is not an exact figure and may not be relied upon for payoff purposes.

                                                  6.

       To the best of Movant’s knowledge, information and belief, the loan it services is first in

priority. Movant has no knowledge, information or belief as to any other secured claims against

the Property, other than a second lien in the amount of $276,541.03, held by State Bank and

Trust Company, according to Debtor's Schedule D.

                                                  7.

       Movant seeks relief from the automatic stay pursuant to 11 U.S.C. §362(d)(1) because

Debtor has defaulted in making payments pursuant to the Note. Movant is not adequately

protected because there is little or no equity in the Property.
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                                                      8.

       Pursuant to the contract between the parties, Movant is entitled to reasonable attorney’s

fees and costs for prosecuting this Motion.

                                                      9.

       Movant requests it be permitted to contact the Debtor via telephone or written

correspondence regarding potential loss mitigation options pursuant to applicable non-

bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

other potential loan workouts or loss mitigation agreements.

                                                     10.

       By signature of its counsel, Movant hereby waives the requirement under 11 U.S.C

§362(e) that a hearing on this Motion be held within 30 days of the date it was filed.

                                                     11.

       Pursuant to Local Bankruptcy Rule 4001-1(a)5 and O.C.G.A. §44-14-162.2, the name of

the person or entity who has full authority to negotiate, amend or modify the terms of the

aforementioned indebtedness is:   Sterling National Bank, as successor by merger to Astoria Bank,   1 Corporate Drive,

Suite 360, Lake Zurich, IL, 60047-8924; (847) 330-8098. Please be advised that the secured

creditor is not required by law to negotiate, amend, or modify the terms of the Mortgage

Instrument.

       WHEREFORE, Movant prays (1) for an Order modifying the automatic stay, authorizing

Movant, its successors and assigns, to proceed with the exercise of its private power of sale and

to foreclose under its Security Deed and appropriate state statutes; (2) for an award of reasonable

attorney’s fees; (3) that Movant, at its option, be permitted to contact the Debtor via telephone or
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written correspondence regarding potential loss mitigation options pursuant to applicable non-

bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

other potential loan workouts or loss mitigation agreements; (4) for waiver of Bankruptcy Rule

4001 (a)(3); and (5) for such other and further relief as is just and equitable.



                                     /s/ Ciro A Mestres
                                     Ciro A Mestres, Georgia BAR NO. 840253
                                     Attorney for Movant
                                     McCalla Raymer Leibert Pierce, LLC
                                     1544 Old Alabama Road
                                     Roswell, Georgia 30076
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                                           BANKRUPTCY CASE NO. 16-50095-JPS

                                           CHAPTER 7

                                CERTIFICATE OF SERVICE

      I, Ciro A Mestres, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
Roswell, Georgia 30076-2102, certify:

        That on the date below, I served a copy of the within NOTICE OF HEARING, together with
the MOTION FOR RELIEF FROM THE AUTOMATIC STAY AND WAIVER OF 30-DAY
REQUIREMENT OF 11 U.S.C. §362(e) filed in this bankruptcy matter on the following parties at
the addresses shown, by regular United States Mail, postage prepaid, unless another manner of
service is expressly indicated:

Joseph Sidney Dumas
864 Wimbledon Court
Macon, GA 31210

David L. Bury, Jr.                         (served via ECF notification)
Stone & Baxter, LLP
577 Mulberry Street
Suite 800
Macon, GA 31201

William Flatau                             (served via ECF notification)
118 Idle Hour Drive
Macon, GA 31201


I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Executed on:    11/30/2017      By:    /s/ Ciro A Mestres
                    (date)             Ciro A Mestres Georgia BAR NO. 840253
                                       Attorney for Movant
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Institution History for LAKE SUCCESS BRANCH (482772)

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Event
                                                         Historical Event
Date
              ASTORIA FEDERAL SAVINGS AND LOAN ASSOCIATION located at 37-16 30TH AVE, LONG
1888-01-01
              ISLAND CITY, NY was established as a Savings & Loan Association.
2014-06-01 ASTORIA FEDERAL SAVINGS AND LOAN ASSOCIATION was renamed to ASTORIA BANK.
2017-10-02 ASTORIA BANK was acquired by STERLING NATIONAL BANK.
              ASTORIA BANK was renamed to LAKE SUCCESS BR and became a branch of STERLING
2017-10-02
              NATIONAL BANK.


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